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                                    Document 1
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                                  UNITED STATES COURT OF APPEALS
                                                 FOR THE FOURTH CIRCUIT
                                       Lewis F. Powell, Jr. United States Courthouse Annex
                                                 1100 E. Main Street, Suite 501
                                                Richmond, Virginia 23219-3517

    Patricia S. Connor                               www.ca4.uscourts.gov                      Telephone
           Clerk                                                                             (804) 916-2700




                                               October 31, 2007

              Tracy Dunlap
              Official Court Reporter
              U. S. DISTRICT COURT
              6500 Cherrywood Lane
              Greenbelt, MD 20770



                     Re: 07-4059 US v. Learley R. Goodwin
                                 8:04-cr-00235-RWT

                     07-4060 US v. Paulette Martin
                                 8:04-cr-00235-RWT

                     07-4062 US v. Lanora N. Ali
                                 8:04-cr-00235-RWT

                     07-4063 US v. Reece C. Whiting
                                 8:04-cr-00235-RWT

                     07-4080 US v. Derrek L. Bynum
                                 8:04-cr-00235-RWT

                     07-4115 US v. LaVon Dobie
                                 8:04-cr-00235-RWT



              Dear Court Reporter:

                   This Court's Order filed 10/3/07 set a filing date of 10/16/07
              for the transcript in this case.

                   The Guidelines for Preparation of Appellate Transcripts in
              the Fourth Circuit require the court reporter or court reporter
              coordinator to send this Court a copy of the reporter's certifica-
              tion setting forth the date the transcript was filed in the district
              court. We have not received your certification of filing.

                   If you have already filed the transcript with the district
              court, we request that you send the certification to this Court
              immediately.

                   If you have not yet filed the transcript, please be aware that a
              ten percent fee reduction sanction took effect upon 10/17/07. If the
              transcript is not filed by 11/15/07 a twenty percent fee reduction
              sanction will apply.
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                                             Yours truly,

                                             PATRICIA S. CONNOR
                                                   Clerk


                                               /s/ Sharon A. Wiley
                                             By: ________________________
                                                  Deputy Clerk

          cc:   Deborah A. Johnston
                Bonnie S. Greenberg
                Anthony Douglas Martin
                Michael Daniel Montemarano
                Alan Dexter Bowman
                Marc Gregory Hall
                Timothy S. Mitchell
                Thomas Peter McNamara
                George Alan DuBois
                Kathy Chiarizia
